Case 3:20-mj-00015 Document 1 Filed 03/02/20 Page 1 of 5 PagelD #: 1

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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of West Virginia

United States of America )
Vv. )
) Case No.
Makel Elboghdady 5 3:20-mj-00015
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 28, 2020 in the county of Cabell in the
Southern District of West Virginia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2423(b) Knowingly travel in interstate commerce, that is, from the Columbus, Ohio,

area to Huntington, Cabell County, West Virginia, within the Southern District
of West Virginia, for the purpose of engaging in illicit sexual conduct with
another person, as defined in 18 U.S.C. § 2423(f), or attempt to do so.

This criminal complaint is based on these facts:

See Affidavit attached hereto.

@ Continued on the attached sheet.

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vy tere
0 fant’s signature

Jamies L. Harrison Il, FBI Special Agent

Printed name and title

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Date: ____ 03/02/2020 _ | Mi atl J —
7 * Judge ’s| signature /
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Sworn ty before me ard signed in my presence. /\

City and state: Huntington, West Virginia cia A. Eifert, United\States Magistrate Judge
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Case 3:20-mj-00015 Document 1 Filed 03/02/20 Page 2 of 5 PagelD #: 2

AFFIDAVIT
I, James L. Harrison II, being duly sworn, depose and state

as follows:

INTRODUCTION

1. IT am a Special Agent of the Federal Bureau of
Investigation ("FBI"), and have been since October 2014. My initial
training consisted of a twenty-week FBI new agent course during
which I received instruction on various aspects of federal
investigations, including the investigation of child pornography
and child exploitation cases. Prior to working for the FBI, I was
employed by Verizon, in Huntington, West Virginia, as a systems
technician installing high capacity data circuits for businesses
from 2005 to 2010. In 2010, I was hired by the FBI as an
electronics technician. In that capacity I worked on the FBI's
security systems and data network until becoming a Special Agent.
I am currently assigned to the Pittsburgh Division and stationed
at the Charleston Resident Agency in Charleston, West Virginia. As
part of my current assignment, I am co-coordinator of the FBI
Violent Crimes Against Children (VCAC) Task Force. I have been
assigned to the VCAC Task Force since approximately 2015, and as
such have been the affiant on numerous search warrants.

2. I make this affidavit in support of an application for

a criminal complaint against MAKEL ELBOGHDADY, age 35, charging

Case 3:20-mj-00015 Document 1 Filed 03/02/20 Page 3 of 5 PagelD #: 3

him with a violation of 18 U.S.C. § 2423(b). That statute makes
it illegal for any person to knowingly travel in interstate
commerce for the purpose of engaging in illicit sexual conduct
with another person, as defined in 18 U.S.C. § 2423(f), or attempt
to do so.

3. The information contained in this affidavit is based on
an investigation conducted by a law enforcement employee acting in
an undercover capacity and information I obtained from other law
enforcement officers involved in this investigation.

4, Since this affidavit is being submitted for the limited
purpose of establishing probable cause to secure a criminal
complaint and arrest warrant, I have attempted to summarize the
most relevant facts that establish the requisite probable cause.
Therefore, I have not included each and every fact of this
investigation. Additionally, where conversations or statements are
related herein, they are set forth in substance and in pertinent
part.

BACKGROUND OF INVESTIGATION

5. On or about Thursday, February 27, 2020, a law
enforcement employee was acting in an undercover capacity (“UCO”).
In that role, the UCO had posted an advertisement on Craigslist
indicating she was a mother in Huntington, West Virginia, with two

daughters. A person later identified as MAKEL ELBOGHDADY responded

2

Case 3:20-mj-00015 Document 1 Filed 03/02/20 Page 4 of 5 PagelD #: 4

to the Craigslist ad and supplied a phone number. The UCO responded
to ELBOGHDADY via text message.

6. During the course of the messages, the UCO indicated
that she was a mother with two daughters, aged 11 and 13.
ELBOGHDADY expressed interest in meeting up with the UCO and her
daughters to engage in sexual activity with either the girls and
the UCO or just the girls. The UCO indicated that she was not
sexually interested in men, and ELBOGHDADY then agreed to just
meet up for purposes of sexual activity with the girls. He
specifically expressed interest in the 11-year-old girl, whom the
UC had stated was a virgin.

7. It was agreed that ELBOGHDADY would bring condoms to the
meeting so that neither girl would accidentally get pregnant.
ELBOGHDADY and the UCO agreed to meet in person first before she
would take ELBOGHDADY to meet the two minors. The meeting was set
for a location in Pullman Square, Huntington, Cabell County, West
Virginia, at approximately 7 p.m. on February 28, 2020.

8. ELBOGHDADY, who traveled from the Columbus, Ohio, area
to the meeting location in Huntington, arrived and met with the
UCO. During a recorded conversation, ELBOGHDADY and the UCO engaged
in further discussion about the sexual activity that ELBOGHDADY
wanted to engage in with both the 11 and 13 year old girls,

specifically sexual intercourse. At the end of the conversation,

3
Case 3:20-mj-00015 Document 1 Filed 03/02/20 Page 5 of 5 PagelD #: 5

ELBOGHDADY and the UCO left the location to purportedly travel to
meet the minor girls. Upon leaving the meeting location, ELBOGHDADY
and the UCO were arrested by law enforcement. ELBOGHDADY had
purchased condoms and brought them with him.

CONCLUSION

9. Based upon the information provided above, your affiant
alleges that there exists probable cause to believe that MAKEL
ELBOGHDADY knowingly violated 18 U.S.C. § 2423(b), in that on or
about February 28, 2020, he knowingly traveled in interstate
commerce, that is, from the Columbus, Ohio area to Huntington,
Cabell County, West Virginia, within the Southern District of West
Virginia, for the purpose of engaging in illicit sexual conduct
with another person, as defined in 18 U.S.C. § 2423(f), or

attempted to do so.

2020.

CHERYL A, EIFERT /
Unifted States Magistrate Judge

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